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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 12-

v. : DATE FILED: April 26, 2012
COLLEEN LYONS, : VIOLATIONS:
DERRICK BAXTER 18 U.S.C. § 371 (conspiracy -1 count)

18 U.S.C. § 1029(a)(5) (fraud in connection
with access devices - 2 counts)
18 U.S.C. § 1028A (aggravated identity
theft - 2 counts)
18 U.S.C. § 2 (aiding & abetting)

INDICTMENT

COUNT ONE

THE GRAND JURY CHARGES THAT:
1. From on or about May 24, 2011 through on or about June 2, 2011, in the

Eastern District of Pennsylvania and elsewhere, defendants

COLLEEN LYONS and
DERRICK BAXTER

conspired and agreed, together and with others known and unknown to the grand jury, to commit
offenses against the United States, that is, to knowingly and with intent to defraud effect
fraudulent transactions with credit issued to other people, in violation of Title 18, United States
Code, Section 1029, and to knowingly and without lawful authority use a means of identification
of another person, during and in relation to access device fraud, in violation of Title 18, United

States Code, Section 1028A(a)(1), (c)(5).
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MANNER AND MEANS

2. It was part of the conspiracy that defendants COLLEEN LYONS and
DERRICK BAXTER and others used the names, driver’s license numbers and other means of
identification of others to enrich themselves and to fraudulently obtain retail store credit cards in
the names of other individuals and make purchases with those fraudulently-obtained cards.

It was further a part of the conspiracy that:

3. Defendant COLLEEN LYONS acted as a “shopper,” using the name,
address, date of birth and social security number of others, provided to her by Co-Conspirator 1
and others unknown to the grand jury, obtained credit cards in the names of other individuals, and
made purchases using the fraudulently-obtained credit cards. In that capacity, defendant LYONS
performed some or all of the following:

a. she received from Co-Conspirator | and others the names,
addresses, dates of birth and social security numbers of S.N. and K.S., persons known to the grand
jury.

b. at the direction of Co-Conspirator 1 and others, she obtained credit
cards and opened accounts in the names of S.N. and K.S., using the information and fraudulent
identification provided to her by Co-Conspirator 1;

C. at the direction of Co-Conspirator 1 and others, she made purchases,
totaling more than $10,000 with the fraudulent credit cards and accounts obtained in the names of

S.N. and K.S.
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4. Defendant DERRICK BAXTER acted as a driver, picking up defendant
COLLEEN LYONS and Christopher Marshall, known to the grand jury and charged elsewhere,
and others unknown to the grand jury, taking defendant LYONS, Marshall and others to meet with
Co-Conspirator 1, and driving defendant LYONS, Marshall and others to stores where defendant
LYONS, Marshall and others would fraudulently obtain credit cards and open accounts in the
names of other individuals and make purchases with those fraudulently-obtained cards and
accounts. In that capacity, defendant BAXTER performed some or all of the following:

a. he picked up defendant LYONS and Christopher Marshall and took
them to meet with Co-Conspirator 1;

b. he received from Co-Conspirator 1 papers with the names,
addresses, dates of birth and social security numbers of K.S., T.G., J.C. and K.M., and fraudulent
driver’s licenses and credit cards in the names of K.S., T.G., J.C. and K.M. and kept those items
in his car; and

c. at the direction of Co-Conspirator 1, he drove defendant LYONS
and Christopher Marshall to stores where, using the information and fraudulent identification
provided by Co-Conspirator 1, defendant LYONS obtained credit cards and opened accounts in
the names of S.N. and K.S. and made purchases using those credit cards and accounts and

Marshall obtained a credit card in the name of B.N. and made purchases using that credit card.
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OVERT ACTS

In furtherance of the conspiracy and to accomplish its object, defendants
COLLEEN LYONS and DERRICK BAXTER, Christopher Marshall and Co-Conspirator 1, and
others unknown to the grand jury, committed the following overt acts in the Eastern District of
Pennsylvania and elsewhere:

1. On or about May 24, 2011, at the direction of Co-Conspirator 1, defendant
DERRICK BAXTER, driving a gold Pontiac Montana van, Pennsylvania registration HVC 2564,
registered to defendant BAXTER, picked up defendant COLLEEN LYONS in Philadelphia,
Pennsylvania and drove defendant LYONS to a Target store on Cottman Avenue in Philadelphia,
Pennsylvania, where defendant LYONS, using the name, address, social security number and date
of birth of S.N. provided by Co-Conspirator 1, fraudulently obtained a Target credit card in the
name of S.N. and then used that fraudulently-obtained credit card to make approximately
$2,205.31 in purchases at the Target store.

2. On or about May 26, 2011, at the direction of Co-Conspirator 1, defendant
DERRICK BAXTER, driving the Pontiac Montana van, Pennsylvania registration HVC 2564,
picked up Christopher Marshall in Philadelphia, Pennsylvania and drove Marshall to a Target
store, where Marshall, using the name, address, social security number and date of birth of B.N.,
fraudulently obtained a Target charge account in the name of B.N. and then attempted to used that
fraudulently-obtained charge card to make purchases at the Target store.

3. On or about May 31, 2011, at the direction of Co-Conspirator 1, defendant
DERRICK BAXTER, driving the Pontiac Montana van, Pennsylvania registration HVC 2564,

picked up defendant COLLEEN LYONS in Philadelphia, Pennsylvania and drove defendant
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LYONS to Best Buy, Macy’s, Target and T-Mobile stores in Delaware, where defendant LYONS,
using the name, address, social security number and date of birth of K.S. provided by
Co-Conspirator 1, fraudulently obtained credit cards and opened accounts in the name of K.S. and
then used those fraudulently-obtained credit cards and accounts to make approximately $7,812.71
in purchases at those stores.

4. On or about May 31, 2011, using the name, address, social security number
and date of birth of K.S. provided by Co-Conspirator 1, and at the direction of Co-Conspirator 1,
defendant COLLEEN LYONS fraudulently obtained a Best Buys charge account in the name of
KS. at a Best Buy store in New Castle County, Delaware and then used that fraudulently-obtained
charge card to make approximately $4,419.98 in purchases.

5. Also, on or about May 31, 2011, defendant COLLEEN LYONS
fraudulently obtained a Macy’s charge account in the name of K.S. at a Macy’s store in New
Castle County, Delaware and then used that fraudulently-obtained charge card to make
approximately $1,345.00 in purchases.

6. Also, on or about May 31, 2011, defendant COLLEEN LYONS
fraudulently obtained a Target charge card in the name of K.S. at a Target store in New Castle
County, Delaware and then used that fraudulently-obtained charge card to make approximately
$1,800.23 in purchases.

7. Also, on or about May 31, 2011, defendant COLLEEN LYONS
fraudulently opened a T-Mobile account in the name of K.S. at a T-Mobile store in New Castle

County, Delaware and then used that fraudulently-obtained account to make approximately

$247.50 in purchases.
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8. On or about June 2, 2011, at the direction of Co-Conspirator 1, defendant
DERRICK BAXTER, driving the Pontiac Montana van, Pennsylvania registration HVC 2564,
picked up defendant COLLEEN LYONS in Philadelphia, Pennsylvania and then met with Co-
Conspirator 1, who provided defendant BAXTER with fraudulent driver’s licenses with a
photograph of defendant LYONS and fraudulent credit cards in the names of T.G. and J.C.

All in violation of Title 18, United States Code, Section 371.
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COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

1, Paragraphs 2 through 4, and Overt Act 1 of Count One are incorporated

here.
2. On or about May 24, 2011, in the Eastern District of Pennsylvania,
defendants
COLLEEN LYONS and
DERRICK BAXTER

knowingly and with the intent to defraud, effected, and aided and abetting the effecting of,
transactions with an access device, that is, a Target credit card in the name of S.N. to obtain things
of value aggregating $1,000 or more during a one-year period, for a total of at least $2,000,
thereby affecting interstate commerce.

In violation of Title 18, United States Code, Sections 1029(a)(5) and 2.
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COUNT THREE
THE GRAND JURY FURTHER CHARGES THAT:
1. Paragraphs 2 through 4, and Overt Acts 3 through 7 of Count One are
incorporated here.
2. On or about May 31, 2011, in the Eastern District of Pennsylvania,

defendants

COLLEEN LYONS and
DERRICK BAXTER

knowingly and with the intent to defraud, effected, and aided and abetting the effecting of,
transactions with one or more access devices, that is, a Target credit card, a Macy’s credit card,
and a Best Buy credit card, all in the name of K.S., to obtain things of value aggregating $1,000 or
more during a one-year period, for a total of at least $7,000, thereby affecting interstate
commerce,

In violation of Title 18, United States Code, Sections 1029(a)(5) and 2.
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COUNTS FOUR AND FIVE
THE GRAND JURY FURTHER CHARGES THAT:
On or about the dates listed below, in the Eastern District of Pennsylvania and
elsewhere, defendants

COLLEEN LYONS and
DERRICK BAXTER

knowingly and without lawful authority, used, and aided and abetted the possession and use of, a
means of identification of another person, that is, the name and personal identifying information
of the persons indicated below, each person constituting a separate count, during and in relation to

access device fraud:

COUNT DATE ACCOUNT HOLDER
4 05/24/11 S.N.
5 05/31/11 KS.

All in violation of Title 18, United States Code, Sections 1028A(a)(1), (c)(4),

(c)(5) and 2.
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NOTICE OF FORFEITURE
THE GRAND JURY FURTHER CHARGES THAT:
1. As a result of the violations of Title 18, United States Code, Sections 1029
and 1344, set forth in this indictment, defendants

COLLEEN LYONS and
DERRICK BAXTER

shall forfeit to the United States of America any property, real or personal, that constitutes or is
derived from proceeds traceable to the commission of such offenses, as charged in this
information, including, but not limited to, the sum of $10,018.02.

2. If any of the property subject to forfeiture, as a result of any act or omission
of the defendants:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(ec) has been commingled with other property which cannot be divided without

difficulty;

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it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other property

of the defendant up to the value of the property subject to forfeiture.

All pursuant to Title 18, United States Code, Section 982(a)(2).

A TRUE BILL:

 

GRAND JURY FOREPERSON

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ZANE DAVID MEMEGER
United States Attorney

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